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 8                             UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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12   SHAWN BEDWELL, an individual,             Case No.: 5:21-cv-01357-JGB-KKx
13               Plaintiff,                    Hon. Jesus G. Bernal
14       v.
15                                             ORDER FOR DISMISSAL WITH
     DAVID JOHN LAWRENCE STEEVES,              PREJUDICE
     Trustee of the David John Lawrence
16   Steeves Revocable Trust dated July 15,
     2019; SAMUEL CHU, Trustee of the          Action Filed: August 12, 2021
17   Chu Family Trust; and DOES 1-10,          Trial Date:   Not on Calendar
18               Defendants.
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                               ORDER FOR DISMISSAL WITH PREJUDICE
     Case 5:21-cv-01357-JGB-KK Document 18 Filed 11/03/21 Page 2 of 2 Page ID #:79



 1         Pursuant to Fed. R. Civ. P. 41, the Court, having considered the documents before
 2   it, and being fully advised finds as follows:
 3         IT IS ORDERED THAT:
 4         Plaintiff Shawn Bedwell’s action against Defendants David John Lawrence
 5   Steeves, Trustee of the David John Lawrence Steeves Revocable Trust dated July 15,
 6   2019; and Samuel Chu, Trustee of the Chu Family Trust is dismissed with prejudice.
 7   Each party will be responsible for its own fees and costs.
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     Dated: November 3, 2021
13                                                       Hon. Jesus G. Bernal
                                                         United States District Judge
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                              ORDER FOR DISMISSAL WITH PREJUDICE
